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VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/08/2019

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                         Wilmington Division

IN RE:
Sara Dianne Nesbitt                                                 CASE NO.: 19−04261−5−SWH
( known aliases: Coastal Carolina Soap Co, Sara's Soaps 'n Such )
118 Willowbend Drive                                                DATE FILED: September 17, 2019
Burgaw, NC 28425
                                                                    CHAPTER: 13

Peter Everett Nesbitt
 ( known aliases: AGL− A Greener Lawn )
118 Willowbend Drive
Burgaw, NC 28425



                                                        DEFICIENCY NOTICE

To: Sara Dianne Nesbitt and Peter Everett Nesbitt
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by October 1, 2019 .

Declaration Concerning Debtors Schedules, Schedules A − J, Statement of Affairs and Statement of
Current Monthly Income Certificate of Credit Counseling,

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

The Chapter 13 plan must be filed by October 1, 2019 .

The Summary of Your Assets and Liabilities and Certain Statistical Information must be filed by October
1, 2019 .

The Certificate of Completion of pre−petition Credit Counseling Course must be filed by October 1, 2019 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: September 17, 2019

                                                                    Abigail Ferritto
                                                                    Deputy Clerk
